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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

COMMITTEE FOR A CONSTRUCTIVE
TOMORROW, THE HEARTLAND
INSTITUTE, CRAIG RUCKER,
NATIONAL LEGAL AND POLICY
CENTER, and PETER FLAHERTY,

       Plaintiffs,

       v.                                             Case No. 1:24-cv-00774-LLA

UNITED STATES DEPARTMENT
OF THE INTERIOR, et al.,

       Federal Defendants.

                              JOINT MOTION FOR EXTENSION
                                 OF BRIEFING SCHEDULE

       Plaintiffs, Committee for a Constructive Tomorrow et al. (collectively “CFACT”), and

Federal Defendants United States Department of the Interior, et al. ask this Court for a 45-day

extension of the current briefing schedule. CFACT’s summary judgment reply and response are

currently due on February 6, 2025. If the Court grants this motion, CFACT’s reply and response

will be due on March 24, 2025, the Government’s reply in support of its cross-motion for summary

judgment will be due on April 23, 2025, and Virginia Electric and Power Company’s, d/b/a/

Dominion Energy Virginia (“DEV”) reply in support of its cross-motion for summary judgment will

be due on May 7, 2025.

       Counsel for CFACT and Federal Defendants met and conferred with counsel for via email

regarding this motion on January 27 and 28, 2025. Counsel for DEV authorized undersigned

counsel to represent that DEV does not oppose this motion.

       In support of this motion, CFACT and Federal Defendants state as follows:




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       1.       Plaintiffs’ Complaint in this case challenges actions of the National Marine Fisheries

Service (“NMFS”) and the Bureau of Ocean Energy Management (“BOEM”) pertaining to the

Coastal Virginia Offshore Wind Commercial Project (“CVOW Project”).

       2.       Following a change in administration, on January 20, 2025, President Trump issued a

Presidential Memorandum entitled TEMPORARY WITHDRAWAL OF ALL AREAS ON THE

OUTER CONTINENTAL SHELF FROM OFFSHORE WIND LEASING AND REVIEW OF THE

FEDERAL GOVERNMENT’S LEASING AND PERMITTING PRACTICES FOR WIND

PROJECTS1. Among other things, the Presidential Memorandum directs the Secretary of the

Interior to conduct a review of existing offshore wind leases. Id. § 1.

       3.       In light of these developments, CFACT and Federal Defendants respectfully move to

enlarge the briefing schedule in this case. NMFS and BOEM are under new leadership, who require

time to become familiar with the issues presented by this litigation and the Presential Memorandum

and to determine how they wish to proceed. Enlargement of the briefing schedule will conserve

judicial resources and promote the efficient and orderly disposition of this matter, including by

ensuring that any briefing presented by Federal Defendants to this Court will reflect the views of

current agency leadership.

       4.       Counsel for Federal Defendants will confer with counsel for the other parties within

30 days after this motion is filed. The parties will promptly notify the Court if further modification

of the agreed briefing schedule is requested by any party.

                                           CONCLUSION

       For the foregoing reasons, good cause exists for this extension. CFACT and Federal

Defendants respectfully request that the briefing schedule be enlarged by 45 days.


1
  Available at https://www.whitehouse.gov/presidential-actions/2025/01/temporary-withdrawal-of-
all-areas-on-the-outer-continental-shelf-from-offshore-wind-leasing-and-review-of-the-federal-
governments-leasing-and-permitting-practices-for-wind-projects/.
                                                  2
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Dated: January 29, 2025

                                    Respectfully submitted,

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